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EXHIBIT

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STATE OF MINNESOTA

COUNTY OF WASHINGTON

IN DISTRICT COURT

TENTH JUDICIAL DISTRICT

State of Minnesota,

Plaintiff,

-vVs-

Brian Jeffrey Krook,

Defendant.

D.C. File:82-CR-19-2887
C.A. File: 062-0410656

GRAND JURY TRANSCRIPT

REPORTER'S TRANSCRIPT OF GRAND JURY PROCEEDINGS

APPEARANCES:

Assistant
Assistant
Assistant
Assistant
Assistant

July 18, 19, 2019

Washington County Attorney Fred Fink,

Ramsey
Ramsey
Ramsey
Ramsey

representing the

Attorney.

County Attorney Richard Dusterhoft,
County Attorney Andrew Johnson,
County Attorney Thomas Hatch,
County Attorney John Kelly,

Office of the Washington County

Jennifer D. Ogaard, RPR, CRR, duly appointed and
and sworn as the official shorthand reporter of the
Washington County Grand Jury.

Jennifer D. Ogaard, RPR CRR

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help him, and I continued to do that for what felt
like an hour. Um -- I know it was a very long time.
This wasn't a situation that happened in just a
matter of seconds. Um -- it continued for, I don't
know, 30, 40 minutes of just back-and-forth
conversation and trying to reason with him and get

him to drop the gun.

Q Did he ever drop the gun?
A No.
Q Did you -- did you feel like you were

making progress with him though?

A I did.

Q And why? Why did you feel that way?

A I got him to remove the magazine out of
the weapon -- um -- and I also convinced him to move
the gun from his head. He did point it to his
chest, but I thought that was better than the head.
I thought that was -- I was making some progress and
I felt that he was beginning to trust me.

Q Okay. And was there -- was there a plan
for what you were going to do in that situation?

A I did not really have a plan. My plan was
to eventually get him to drop the weapon and -- and
then try to get him help. Um -- really just --

Q So you -- obviously you didn't approach

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A Yes. He kept looking behind him. So he
had the gun in his right hand up to his head and he
would periodically look around.

Q And what did you think he was doing when
he was turning his head?

A I don't know if he was looking to see if
we were coming up behind him, or if there was

somebody else back there, or if he was looking for

an exit route. I really had no idea.

Q Did it cause you any concern?

A Yes.

Q Why?

A Because I don't know what he was going to
do and there was -- I mean -- there was houses back
there also, innocent people, so I was worried. Is

he going to try to run into his house or a

neighbor's house or? I didn't really know.

Q Okay. Did he ever point the gun at you --
A No.

Q -- or any of the other officers?

A No.

Q Did he ever say he wanted to kill you or

shoot you?
A No.

Q Did he or the other officers -- did he say

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he ever wanted to shoot the other officers?

A No.

Q Did he say he was going to not do anything
that would cause you law enforcement to shoot him?

A No.

Q Did he say he was familiar with your
tactics and knew what you were going to do?

A Um -- he did call a couple of things --

um -- he -- from what I gathered, he was a former --
um -~ firefighter, so he at least loosely worked
with law enforcement in the past and so -- um -- he

just kept saying, you know, you're doing a good job
but it's not going to change anything. He kept
Saying that type of stuff.

Q Did he do anything that caused you to
consider shooting him?

A No.

Q So did you feel any immediate threat to
your safety or the safety of the other officers that
would cause you to shoot him?

A No.

Q Did you tell Evans not to move his head to
the left or the right?

A No.

Q Did anyone?

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A He was looking around.

Q What's that?

A He was looking behind him again just
before shots were fired.

Q Yeah. But that wasn't causing you --

A It did make us worry because we didn't
know what he was thinking or what he might do, so it
did concern us when he did look around -- um.

Q When you say it did concern us, have you
talked with other officers about it, the situation?

A In -- I mean, we've had debriefs, yes.

Q All right. But I just want to talk about

your --
A Okay.
Q -- your feelings at that time.
A Yes. I mean, it made me uneasy that he

was looking around because I didn't know what he was
thinking or planning.
Q But obviously it didn't make you shoot

your weapon.

A No.

Q Who did shoot at Evans?

A Deputy Krook.

Q And do you know how many shots were

initially fired?

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A I don't.

Q And were they gunshots or were they
beanbag shots? Did he use the less lethal or his
lethal weapon?

A He used his lethal weapon, his Glock.

Q At the time, when the shots went off, what
did you think he was shooting?

A I initially thought he shot the less
lethal.

Q Why did you think that?

A I had seen Deputy Krook with the less
lethal shotgun prior to the shots being fired. I
just glanced over and saw that he had access to both
and that's what I thought he fired. I didn't see
him shoot. I just heard it.

Q All right. Did you ever ask Krook why he
didn't use the less lethal?

A No.

Q And in the debriefs -- have you debriefed

with him?

A No.
Qo Who were you debriefing with?
A Pretty much every other officer except

Deputy Krook.

Q Now, after Krook shot his weapon, what did

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1 A Yes, sir.

2 Q And how did you feel that the negotiations
3 were going at that point?

4 A I thought they were going good. I mean,

5 he took the magazine out.

6 Q When somebody takes a magazine out of a

7 semi automatic handgun, is there still potentially a

8 bullet remaining in the gun?

9 A Yes, sir. He mentioned that and said it
10 was for him.
11 Q Okay. At any time did he say that last

12 bullet was for law enforcement?

13 A No, sir.

14 Q Did negotiations continue even after he
15 put the magazine down?

16 A Yes, sir.

17 Q And again, turning of his head, turning of
18 his body, that in and of itself was not concerning
19 to you, is that correct?

20 A At the time, no.

21 Q At some point though you heard shots, is
22 that right?

23 A Yes, sir.

24 Q And did you know at the time that you

25 heard the shots, did you know who was making the

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Did you give a statement to the BCA?
Yes, sir.

Did you talk with anybody else that was

involved with this on scene before you talked with

people at the BCA?

A

Ah, just minor stuff. I think Sergeant

Folendorf asked who actually fired and we let her

know who fired.

Q

of shots,

To be clear, just before the first round

did you see anything in Mr. Evans'

behavior that caused you to fear for your life or

the lives of the other law enforcement officers?

A

When he kept giving an ultimatum about

wanting to call his girlfriend, but nothing that

made me want to or made me feel the need to fire.

Q

Okay. Did you have any meetings with

anybody in your department, say, next day or the

days following this about what happened?

A

Ah, I think the next week we had a meeting

with the mental health and crisis counselors.

Q

A

debrief.

Q

A

Did you ever have any debriefs though?

I guess that kind of counted as our

Who was present for that?

All the officers. All the deputies

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wholeheartedly were going to give him a phone if he
put the gun down. Um -- my fear was what would
happen if he got the phone and, again, that was one
of the reasons I was trying to talk to somebody from
negotiations. Um --

Q What were you thinking? Why do you say
you feared that?

A I was afraid if he got on the phone with
this girl or ex-girlfriend, that he was going to
initiate a suicide-by-cop situation or commit
suicide while he was on the phone with her.

Q What do you mean a suicide by cop?

A That he would take action such as pointing
a loaded weapon at one of us to put us in a position
where we would fire our firearms at him.

Q Did you ever see him point a gun at any of

the law enforcement?

A Um -- at that point, no.

Q Well, before the first shots were fired?
A No.

Q You never saw him point it at anyone --
A No.

Q -- other than himself?

A Correct. Um -- and I don't think I

answered your question about the countdown.

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diffuse?

A Yeah. I think Deputy Ramirez really did a
great job of kind of settling down to the point -- I
don't want to say he forgot, but he stopped the
countdown.

O So there was no action that had to be
taken after whatever period of time it was?

A No.

Q Okay. Did Mr. Evans ever say anything to
suggest to you that he would hurt any of the law
enforcement personnel?

A No.

Q Did he, in fact, say just the opposite,
that he had no intention of hurting law enforcement
and that the bullet in the chamber was for him?

A Oh, I do recall him saying something to
that effect, yes.

Q And you were aware that he had gotten rid
of the magazine?

A I can't say if I recall that happening or
if I heard somebody tell me that happened, so I
can't answer that either way.

QO Okay. We hear on the body-camera of
Deputy Ramirez over and over again when he says I

can't approach when you have that gun in your hand,

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gun still in his hand, that creates a dangerous

situation?
A Yes.
Q All right. Now, so was the plan to

somehow separate Mr. Evans from his gun?

A Yes.

Q What were the ways that you had in mind
for doing that?

A Well, what seemed to be working and
what -- the training that we've had was really just
talking with him. At that point, I feel like that
was probably one of the only options that we had at
that moment. He seemed to be receptive during parts
of the conversation, but then at times he was not.
So I think, ultimately, the goal was to continue to
talk to him and get him to set the firearm down so
that we could get him some help, get him the phone

call that he wanted to make and resolve the

Situation.

Q How long were you willing to continue the
negotiation?

A As long as it took.

Q You did not set any kind of deadline?

A Never ever ever would I set a deadline
ever.

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Q Did you as -- you are in charge of this
scene, right?

A Correct.

Q Did you communicate that you were willing
to wait for as long as necessary?

A I did not communicate any timeline,
including as long as necessary.

Q Okay. Other than suggesting that Deputy
Ramirez be the sole person talking, did you feel
that there needed to be any change in what was
happening when you arrived on the scene?

A The only change was in the works and that
was contacting the SWAT team and the SWAT
negotiators to see if -- my hope was that they would
maybe give some advice and obviously respond to the
scene, and maybe have some training and experience
that I didn't have to, I don't know, change the
situation or maybe just to help essentially.

Q Yeah. Now, was Mr. Evans -- you did learn
his name eventually right?

A I did, yes.

Q So if I call him Mr. Evans, you know who
I'm talking about?

A Yes.

Q Did he -- was he in a standing position,

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deliberately pointing the gun? Do you have any
idea?

A I don't know what his intentions were or
where he was at that point, but if a muzzle of a
firearm is pointing at me, I'm not taking the chance

of letting him fire it at me or one of my partners.

Q But. you didn't shoot.
A I did not.
Q And Ramos didn't shoot?

A He did not.

Q And Ramirez didn't shoot?
A That is correct.
Q The only one who took a shot, three shots,

was Deputy Krook?
A That is correct.
Q Have you ever been in this kind of

Situation before?

A Never.
Q And when you talk about training you
received, have you used -- have you had crisis

intervention team training?

A I have had 40 hours of crisis intervention
training.
Q Are there simulations done of a suicidal

person and whether or not you approach that person

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when they have a loaded weapon in their hand?

A In none of the training that I had was it
simulated with a person with a firearm.

Q Now, at some point did you give up your

body-camera to Krook?

A Yes.
Q Actually returned his body-camera to him?
A Yes. It was still logged in under my

name, but when I went behind the building to --

um -- make the calls about doing a SWAT call-out --

um -- I did give it to him.
QO Did he sign in as himself?
A No. That requires a couple of minutes,

maybe a minute, and at that point that just wouldn't
make sense to do that, so it was more important to
have the body-camera going, so I just handed it to
him.

Q I don't mean to suggest I'm criticizing in
any way. I just want to make sure everybody
understands that when the body-camera video that
we're going to see or going to hear anyway, is now
on Deputy Krook, after you tried to make the calls
to the SWAT team and negotiators?

A Correct, still under my name.

Q All right. Did you ever talk with Deputy

